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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:18−cr−00611
                                                         Honorable Ronald A. Guzman
Ji Chaoqun
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 21, 2022:


         MINUTE entry before the Honorable Ronald A. Guzman as to Ji Chaoqun: Jury
trial held on 9/21/2022. Evidence entered. Jury trial continued to 9/22/2022 at 9:30 a.m.
Mailed notice. (kp, )




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